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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                                  JUDGE NINA Y. WANG


Civil Action: 22-cv-01129-NYW-SBP                       Date: June 4, 2025
Courtroom Deputy: Emily Buchanan                        Court Reporter: Darlene Martinez

                Parties                                            Counsel

 ERIC COOMER, Ph.D.,                                    Ashley Morgan
                                                        Bradley Kloewer
                                                        Charles Cain
                                                        David Beller
        Plaintiff,

 v.

 MICHAEL J. LINDELL,                                    Christopher Kachouroff
 FRANKSPEECH LLC, and                                   Jennifer DeMaster
 MY PILLOW, INC.,                                       James Duane

        Defendants.


                                   COURTROOM MINUTES


JURY TRIAL – DAY 3

8:47 a.m.      Court in session.

Appearances of counsel. Jury not present.

Argument by Mr. Duane and Ms. Morgan regarding one outstanding issue with respect to the
documents that were provided to the Court for in-camera review. Court received a copy of
Defendants Mike Lindell and Frankspeech LLC’s answers to Plaintiff’s first set of
interrogatories.

ORDERED: With respect to the three documents that were submitted to the Court for in-
         camera review, the email that has been submitted will be precluded. The
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                posts that were on Twitter may be used as appropriate subject to the Rules of
                Evidence.

Argument by Mr. Duane and Mr. Beller regarding Plaintiff’s Notice of Defendants’ Non-
Compliance with Court Order [Doc. 351].

Argument by Mr. Duane and Ms. Morgan regarding Plaintiff’s Motion to Protect Confidentiality
[Doc. 350].

ORDERED: Plaintiff’s Motion to Protect Confidentiality [Doc. 350] is GRANTED in part
         and DENIED in part as discussed by the Parties and the Court and as agreed
         to by the Parties with respect to the gallery monitors in the courtroom.

9:33 a.m.       Court in recess.
9:45 a.m.       Court in session.

Jury present.

Plaintiff, Eric Coomer, resumes.

9:46 a.m.       Continued cross examination of Dr. Coomer by Mr. Kachouroff.

10:03 a.m. – 10:06 a.m.        Bench conference.

10:06 a.m.      Continued cross examination of Dr. Coomer by Mr. Kachouroff.

10:13 a.m. – 10:15 a.m. Bench conference: Defendants’ request for the Court to reconsider its
prior ruling is overruled.

10:15 a.m.      Continued cross examination of Dr. Coomer by Mr. Kachouroff.

10:16 a.m. – 10:17 a.m. Bench conference.

10:17 a.m.      Continued cross examination of Dr. Coomer by Mr. Kachouroff.

Exhibit 30 is admitted.

10:33 a.m. – 10:35 a.m. Bench conference.

10:35 a.m.      Continued cross examination of Dr. Coomer by Mr. Kachouroff.

Exhibit 37 is admitted.

10:59 a.m.      Jury is excused.
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Court requests an updated exhibit list from the Parties.

Court asks counsel to be mindful of the confidentiality Order and the turning of the gallery
monitors.

11:00 a.m.     Court in recess.
11:26 a.m.     Court in session.

Jury not present.

Discussion regarding Exhibits 119 and 120.

ORDERED: Parties shall file the Third Amended Joint Trial Exhibit List.

11:29 a.m.     Jury present.

Plaintiff, Eric Coomer, resumes.

11:29 a.m.     Continued cross examination of Dr. Coomer by Mr. Kachouroff.

Defendant offers Exhibit 9.

11:46 a.m. – 11:46 a.m.        Bench conference.

Exhibit 9 is admitted.

11:47 a.m.     Continued cross examination of Dr. Coomer by Mr. Kachouroff.

Exhibits 263 and 264 are admitted.

12:13 p.m. – 12:14 p.m. Bench conference.

12:15 p.m.     Continued cross examination of Dr. Coomer by Mr. Kachouroff.

12:16 p.m.     Redirect examination of Dr. Coomer by Mr. Cain.

12:30 p.m.     Jury is excused.

Plaintiff intends to call witness Matt Crane this afternoon. Parties shall meet and confer and be
accommodating to the live witnesses.

12:32 p.m.     Court in recess.
1:23 p.m.      Court in session.
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Jury present.

Plaintiff, Eric Coomer, resumes.

1:26 p.m.       Continued redirect examination of Dr. Coomer by Mr. Cain.

1:33 p.m.       Jury is excused.

Argument regarding the anticipated testimony of witness Matt Crane.

1:50 p.m.       Court in recess.
2:00 p.m.       Court in session.

Jury not present.

Pending before the Court is Defendants’ objection to the scope of the anticipated testimony by
Matt Crane.

ORDERED: Mr. Crane is not permitted to testify as to general harm of election fraud
         claims and general harm to others. Mr. Crane may testify as to what is
         generally experienced by others by statements made by Defendants. Mr.
         Crane may testify as to the environment in 2020 and how Dr. Coomer was
         experiencing statements by Defendants.

2:08 p.m.       Jury present.

Plaintiff’s witness, Matt Crane, called and sworn.

2:09 p.m.       Direct examination of Mr. Crane by Ms. Morgan.

2:21 p.m. – 2:22 p.m. Bench conference.

2:23 p.m.       Continued direct examination of Mr. Crane by Ms. Morgan.

2:35 p.m. – 2:36 p.m. Bench conference.

2:36 p.m.       Continued direct examination of Mr. Crane by Ms. Morgan.

2:40 p.m. – 2:42 p.m. Bench conference.

2:42 p.m.       Continued direct examination of Mr. Crane by Ms. Morgan.

2:51 p.m. – 2:52 p.m. Bench conference.
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2:52 p.m.       Continued direct examination of Mr. Crane by Ms. Morgan.

2:54 p.m. – 2:55 p.m. Bench conference.

2:55 p.m.       Continued direct examination of Mr. Crane by Ms. Morgan.

2:59 p.m.       Court in recess.
3:17 p.m.       Court in session.

Jury present.

Plaintiff’s witness, Matt Crane, resumes.

3:20 p.m.       Cross examination of Mr. Crane by Mr. Duane.

3:40 p.m. – 3:41 p.m. Bench conference.

3:41 p.m.       Continued cross examination of Mr. Crane by Mr. Duane.

4:11 p.m.       Redirect examination of Mr. Crane by Ms. Morgan.

Plaintiff calls Joseph Oltmann.

4:27 p.m. – 4:39 p.m. Bench conference: Attorney Andrea Hall appears on behalf of Joseph
Oltmann and will be filing a notice of entry of appearance in this case. Discussion regarding
Plaintiff’s Trial Brief Regarding Potential Invocation of the Reporter’s Privilege by Third Party
Witness Joseph Oltmann [Doc. 349] and the Court holding a separate hearing. Discussion
regarding the next witnesses to be called by Plaintiff.

4:40 p.m. – 5:02 p.m. Plaintiff’s witness, Susan Klopman, by video deposition.

Court advises jury regarding admonitions of trial.

5:03 p.m.       Jury excused until June 5, 2025 at 9:00 a.m.

Discussion regarding the timing of the charging conference. The Court will provide the Parties
with copies of the working jury instructions tomorrow.

5:05 p.m.       Court in recess.

Trial continued.
Total time in court:   6:21
